






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00402-CV






Patrick A. Jones, Appellant



v.



State of Texas, Appellee







FROM THE DISTRICT COURT OF BELL COUNTY, 146TH JUDICIAL DISTRICT


NO. 195,225-B, HONORABLE RICK MORRIS, JUDGE PRESIDING 






M E M O R A N D U M   O P I N I O N




	The judgment in this civil forfeiture case was signed on November 22, 2004.  No
timetable extending documents, such as a motion for new trial, were filed.  Accordingly, the notice
of appeal was due on December 22, 2005.  See Tex. R. App. P. 26.1.  The notice of appeal and
appellant's "Motion for Leave to File an Out-of-Time Notice of Appeal" were not filed until March
31, 2005, (1) long after the deadline for the notice of appeal and the fifteen-day window to file a motion
for extension.  See id. 26.1, 26.3.  Without a timely notice of appeal, we have no jurisdiction over
the appeal.  See id. 25.1(b).  Accordingly, we must dismiss the appeal for want of jurisdiction.  See
id. 42.3(a); see also Gibbs v. Allsup Enters., 153 S.W.3d 603, 603 (Tex. App.--Amarillo 2004, pet.
denied).



					                                                                                    

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear

Dismissed for Want of Jurisdiction

Filed:   July 21, 2005

1.        Even were we to use March 8, 2005, apparently the date the document was prepared, the notice
would be too late.

